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 3                         UNITED STATES DISTRICT COURT
 4                                DISTRICT OF NEVADA
 5                                            ***
 6
                                                   )
 7   UNITED STATES OF AMERICA,                     )       2:12-CR-00063-PMP-CWH
                                                   )
 8                        Plaintiff,               )                ORDER
                                                   )
 9          vs.                                    )
                                                   )
10   LELAND JONES,                                 )
                                                   )
11                        Defendant.               )
                                                   )
12

13          On May 14, 2013, the Court entered an Order (Doc. #129) granting the Motion
14   of Defendant Jones for Grand Jury Records (Doc. 117) to the limited extent that the
15   Government be required to submit to the Court, for In Camera review, the records of
16   the Special Grand Jury which returned the Indictment in this case on February 28, 2012,
17   to enable the Court to confirm that the requisite number of Grand Jurors present
18   concurred on the return of the Indictment.
19          On May 22, 2013, Plaintiff United States complied with this Court’s Order and
20   submitted the Grand Jury Records at issue (Doc. #133). The Court has reviewed, In
21   Camera, the Grand Jury Records establishing that all twenty Grand Jurors present
22   concurred in the vote to return the Indictment in this case.
23          IT IS THEREFORE ORDERED that the request for discovery set forth in
24   Defendant Jones’ First Motion to Unseal Grand Jury Records (Doc. #117), and this
25   Court’s Order (Doc. #129) are hereby deemed satisfied.
26   Dated: May 29, 2013.

                                                       PHILIP M. PRO
                                                       United States District Judge
